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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


THE UNITED STATES OF
                                                      *
AMERICA,

        v.                                            *                 CRIMINAL NO. JKB-16-00363

GERALD THOMAS JOHNSON,
                                                      *
et al.,

        Defendants.                                   *

       *        *       *        *        *       *        *       *        *       *        *       *

                                              MEMORANDUM

        Defendant Kenneth Faison is charged with conspiring to participate in a racketeering

enterprise and conspiring to distribute controlled substances in violation of 18 U.S.C. § 1962(d)

and 21 U.S.C. §§ 841(a)(1), (b)(1)(A), & 846.1 Now pending before the Court is Defendant‘s

Motion to Preclude Admission into Evidence of Defendant‘s Guilty Pleas in State Court. (ECF

No. 178.) Defendant Joseph Bonds has moved to adopt Faison‘s arguments and to exclude his

own prior state court guilty pleas. (ECF No. 184.) The issues have been briefed (ECF Nos. 178-

1, 237, & 259), and no hearing is required because no facts are in dispute, see Local Rule 207 (D.

Md. 2016). For the reasons explained below, Defendants‘ motions will be DENIED.

I. Background

        On January 12, 2015, Faison pled guilty to three counts of a six-count indictment in

Baltimore City Circuit Court Case No. 11331024. Specifically, he pled guilty to one count of

criminal gang activity, in violation of Md. Code Ann., Criminal Law, § 9-804(a), and two


1
         The original Indictment named only Defendant Gerald Johnson and issued on July 13, 2016. (ECF No. 9.)
The First Superseding Indictment, which named Defendant Faison, among others, issued on November 9, 2016
(ECF No. 40.) The Second Superseding Indictment, which charges Defendant Faison with the same offense as the
First Superseding Indictment, issued on September 20, 2017. (ECF No. 260.)
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separate counts of assault with a handgun, in violation of Md. Code Ann., Criminal Law, § 4-

204. On October 19, 2015, Bonds pled guilty to one count of a nine-count indictment in

Baltimore City Circuit Court Case No. 113310044. Specifically, Bonds pled guilty to one count

of criminal gang activity, in violation of Md. Code Ann., Criminal Law, § 9-804(a). On the

same day, Bonds also pled guilty to one count of an 11-count indictment in Baltimore City

Circuit Court Case No. 11323002. In that case, Bonds pled guilty to one count of possessing a

firearm after being convicted of a controlled substance offense, in violation of Md. Code Ann.,

Criminal Law, § 5-622(b).

         The conduct underlying Faison‘s state guilty plea is largely the same conduct he is

charged with in the instant indictment. Indeed, in pleading guilty to criminal gang activity in

state court, Faison admitted to being a member of the Black Guerilla Family Greenmount

Regime, the enterprise he is accused of belonging to in the Second Superseding Indictment.

Moreover, many of the overt acts that the government alleges in support of its Racketeer

Influenced and Corrupt Organizations Act (―RICO‖) conspiracy charge are the same overt acts

Faison pled guilty to in state court.2

II. Analysis

         Faison moves to preclude the government from admitting into evidence his state court

guilty plea. He contends that his guilty plea is inadmissible under Federal Rules of Evidence 402

and 403 because it was not made knowingly and voluntarily as required by the Constitution.3


2
          Defendant Bonds did not include his state court indictment as an exhibit with his motion to adopt the
arguments put forth by Defendant Faison. However, because the Court‘s decision ultimately does not turn on the
similarity of the acts alleged in the state and federal indictments, Defendant Bonds‘s argument is not prejudiced by
his failure to include information regarding the details of his state court guilty pleas.
3
          Federal Rule of Evidence 402 provides that relevant evidence is admissible unless doing so would violate,
inter alia, the Constitution. See Fed. R. Evid. 402. Federal Rule of Evidence 403 states that ―[t]he court may
exclude relevant evidence if its probative value is substantially outweighed by a danger of . . . unfair prejudice.‖
Fed. R. Evid. 403. Faison contends that a constitutionally invalid plea may not be admitted under the plain terms of

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Faison contends that his guilty plea is constitutionally invalid because his counsel failed to

provide effective assistance during his plea negotiations as required by the Sixth Amendment.

See Hill v. Lockhart, 474 U.S. 52 (1985) (holding that Sixth Amendment right to counsel extends

to plea process and that two-part Strickland v. Washington test applies). More specifically,

Faison contends that his state counsel was ineffective because counsel failed to adequately

advise Faison of the consequences of his guilty plea—namely, that it could be used against him

to obtain a subsequent federal conviction.4 The government contends that Faison‘s guilty plea is

valid and therefore admissible under Federal Rule of Evidence 801(d)(2)(A) (admission by a

party-opponent). See United States v. Ayala, 601 F.3d 256, 269 (4th Cir. 2010) (affirming

district court‘s admission of state court guilty plea in federal RICO prosecution under Federal

Rule of Evidence 801(d)(2)(A) as an admission by a party-opponent); United States v. Maestas,

941 F.2d 273, 278 (5th Cir. 1991) (―It is well settled that a guilty plea is admissible in a

subsequent collateral criminal trial as evidence of an admission by a party-opponent.‖).

         ―The longstanding test for determining the validity of a guilty plea is ‗whether the plea

represents a voluntary and intelligent choice among the alternative courses of action open to the

defendant.‘‖ Hill, 474 U.S. at 56 (quoting North Carolina v. Alford, 400 U.S. 25, 31 (1970)).

Generally, this means that ―a defendant must be informed of the ‗direct‘ but not the ‗collateral‘

consequences of the plea.‖ Ayala, 601 F.3d at 269. Indeed, every federal court of appeals to

have considered the scope of the Sixth Amendment right to effective assistance of counsel in


Rule 402 and may not be admitted under Rule 403 because any probative value it offers would be substantially
outweighed by unfair prejudice.
4
          Faison suggests at one point that he is advancing two ―alternat[ive]‖ theories under which his guilty plea is
invalid. (ECF No. 178-1 at 8.) Read generously, those two arguments appear to be that his plea is invalid, and
therefore inadmissible, because (1) it was not knowing and voluntary, and (2) he received ineffective assistance of
counsel during the plea process. However, the only support he offers for his contention that his plea was not
knowing and voluntary is that his counsel failed to advise him of the consequences of the plea. Thus, his
―alternat[ive]‖ theories collapse in on each other.

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plea negotiations has concluded ―that ‗counsel‘s failure to inform a defendant of the collateral

consequences of a guilty plea is never‘ a violation of the Sixth Amendment.‖ Chaidez v. United

States, 568 U.S. 342, 350 (2013) (emphasis added) (quoting Santos-Sanchez v. United States,

548 F.3d 327, 334 (5th Cir. 2008)). And the Fourth Circuit has unequivocally stated that

―[w]hether a guilty plea in state court might be used in a subsequent federal prosecution is

plainly a collateral consequence.‖ Ayala, 601 F.3d at 270. In light of this still valid and

controlling precedent, the Court would be hard pressed to grant Faison‘s motion.5

         Faison correctly notes, however, that the bright-line distinction between direct and

collateral consequences of a guilty plea has, at least arguably, been called into doubt recently by

the Supreme Court. In Padilla v. Kentucky, the Supreme Court reversed the Supreme Court of

Kentucky which had held—consistent with almost all other state and federal courts at the time—

that the Sixth Amendment right to effective assistance of counsel simply was not applicable to

―advice about deportation because it is merely a ‗collateral‘ consequence of . . . conviction.‖ 559

U.S. 356, 359–60 (2010). Padilla forced the Supreme Court to address ―a threshold question:

Was advice about deportation ‗categorically removed‘ from the scope of the Sixth Amendment

right to counsel because it involved only a ‗collateral consequence‘ of a conviction, rather than a




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          Indeed, the government essentially argues as much, suggesting that Ayala entirely forecloses Faison‘s
argument. Ayala is not dispositive for at least two reasons, however. First, as explained infra, the Supreme Court‘s
holding in Padilla, as interpreted by the Supreme Court in Chaidez, at least raises some doubt about whether it is
appropriate for courts to rely solely on the direct-collateral distinction in assessing counsel‘s advice regarding a
guilty plea. Second, although Ayala is persuasive and relevant insofar as it clearly provides that potential federal
prosecution and conviction is a collateral consequence of a state guilty plea, the defendant in Ayala apparently did
not attack the validity of his plea on Sixth Amendment grounds, and therefore Ayala does not, by itself, foreclose
Faison‘s argument. Indeed, the ―Sixth Amendment responsibilities of counsel to advise of the advantages and
disadvantages of a guilty plea are greater than the responsibilities of a court under the Fifth Amendment.‖ United
States v. Youngs, 687 F.3d 56, 62 (2d Cir. 2012). In other words, Ayala does not dictate the result here, but it is
undoubtedly still valid and persuasive authority on the issue before the Court.


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component of the criminal sentence?‖6 Chaidez, 568 U.S. at 349 (quoting Padilla, 559 U.S. at

366). In answering that question, the Court first noted that it had ―never applied a distinction

between direct and collateral consequences to define the scope of‖ the Sixth Amendment right to

counsel, and therefore it was not bound to affirm the state court based on the seemingly collateral

nature of deportation. Padilla, 559 U.S. at 365. The Court then expressly declined to consider

the appropriateness of the widely-adopted direct-collateral distinction.                      Rather, the Court

concluded that, ―however apt that distinction might be in other contexts,‖ Chaidez, 568 U.S. at

352, due to ―the unique nature of deportation,‖ the ―collateral versus direct distinction

[wa]s . . . ill suited to evaluating a Strickland claim concerning the specific risk of deportation.‖

Padilla, 559 U.S. at 366 (emphasis added); see also United States v. Chan, 792 F.3d 1151, 1155

(9th Cir. 2015) (noting that Supreme Court in Padilla ―reject[ed] the direct/collateral

consequence distinction, declining to label deportation as either and, instead, identifying it as

‗unique‘‖).      Accordingly, the Court held that advice about deportation as a potential

consequence of a guilty plea is not ―categorically removed‖ from the scope of the Sixth

Amendment but, in declining to address the direct-collateral distinction more broadly, it

generally left unaltered the plethora of lower court precedent applying the distinction in other

contexts. See United States v. Reeves, 695 F.3d 637, 640 (7th Cir. 2012) (―Although the

Supreme Court declined to apply this distinction to deportation in Padilla, it was also careful to

note that it would not answer whether the distinction was an appropriate one for other ineffective

assistance of counsel claims.‖); see also United States v. Nicholson, 676 F.3d 376, 382 (4th Cir.

2012) (―In Padilla, the Court . . . . specifically declined to address ‗how to distinguish between

direct and collateral consequences‘ of a guilty plea.‖ (quoting Padilla, 559 U.S. at 364 n.8));

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         ―In other words, prior to asking how the Strickland test applied (‗Did this attorney act unreasonably?‘),
Padilla asked whether the Strickland test applied (‗Should we even evaluate if this attorney acted unreasonably?‘).‖
Chaidez, 568 U.S. at 349.

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Reeves, 695 F.3d at 640 (―Padilla is rife with indications that the Supreme Court meant to limit

its scope to the context of deportation only.‖).

       Three years after Padilla the Supreme Court revisited its decision and held that Padilla

had announced a ―new rule‖ under Teague v. Lane, 489 U.S. 288 (1989), and therefore did not

apply to cases pending on collateral review. Chaidez, 568 U.S. 342. Although the retroactivity

of Padilla is not at issue here, the Supreme Court‘s subsequent analysis of Padilla provides

particularly useful guidance in determining the scope of Padilla‘s holding.        Notably, some

language in Chaidez could be read to call into doubt the direct-collateral distinction more broadly

than Padilla itself seemed to—i.e., beyond the immigration context. For instance, the Supreme

Court noted that in deciding Padilla it ―answered a question about the Sixth Amendment‘s reach

that [it] had left open,‖ and that answer ―altered the law of most jurisdictions.‖ Id. at 352. The

Supreme Court went on to note that Padilla ―breach[ed] the previously chink-free wall between

direct and collateral consequences‖ and ―rejected th[e] categorical approach‖ adopted by lower

federal courts. Id. at 352–53. These statements, taken out of context, could be read to support

Faison‘s argument that ―[a]ny material distinction between ‗direct‘ and ‗collateral‘ consequences

from a guilty plea for Strickland purposes was eliminated by the Padilla decision.‖ (ECF No.

178 at 4 n.3. Yet, Chaidez also reaffirmed the ―unique‖ nature of deportation and certainly did

not offer a wholesale rejection of the direct-collateral distinction. Chaidez, 568 U.S. at 352–53.

Indeed, even following Chaidez federal courts have consistently interpreted Padilla narrowly and

reaffirmed the continuing vitality of the direct-collateral distinction outside the context of

deportation. See Parrino v. United States, 655 F. App‘x 399, 403 (6th Cir. 2016) (―The holding

in Padilla was limited to advice ‗concerning the specific risk of deportation . . . .‘‖ (quoting

Padilla, 559 U.S. at 366)); Johnson v. Ponton, 780 F.3d 219, 225 (4th Cir. 2015) (describing



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Padilla as holding that ―counsel is ineffective where she fails to ‗inform her client whether his

plea carries a risk of deportation‘‖), judgment vacated sub nom. Johnson v. Manis, 136 S. Ct.

2443 (2016), abrogated on other grounds by Montgomery v. Louisiana, 136 S. Ct. 718 (2016);

Chavarria v. United States, 739 F.3d 360, 362–63 (7th Cir. 2014) (holding that ―[a] lawyer‘s

advice about matters not involving the ‗direct‘ consequences of a criminal conviction—collateral

matters—is, in fact, irrelevant under the Sixth Amendment; such advice is categorically excluded

from analysis as professionally incompetent, as measured by Strickland,‖ and that ―Padilla

departed from this direct-collateral distinction [only] because of the ‗unique‘ nature of

deportation‖); Santiago v. Laclair, 588 F. App‘x 1, 4 (2d Cir. 2014) (―Padilla‘s narrow holding

[was] limited specifically to the unique penalty of deportation . . . .‖).

        In sum, Padilla and Chaidez establish that certain consequences, even though technically

―collateral‖—i.e., not ―definite, immediate, and largely automatic,‖ Cuthrell v. Dir., Patuxent

Inst., 475 F.2d 1364, 1366 (4th Cir. 1973)—may be so inextricably intertwined with the

underlying criminal process, so severe, and so likely to result that notice of them must be

included within the protective umbrella of the Sixth Amendment right to effective assistance

counsel. To date, only one such consequence—deportation—has been identified. And while

other unique collateral consequences may yet reveal themselves as within the scope of the Sixth

Amendment, the possibility of a subsequent federal conviction based on the same conduct

underlying a state guilty plea is not such a consequence.

        Simply put, the ―plainly . . . collateral consequence,‖ Ayala, 601 F.3d at 270, at issue here

is not remotely similar in kind to the unique consequence that justified the narrow exception

recognized in Padilla. Deportation is ―a particularly severe ‗penalty‘‖ that is ―intimately related

to the criminal process‖ and ―nearly an automatic result for a broad class of noncitizen



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offenders.‖ Padilla, 559 U.S. at 365–66. Given its near inevitability following a conviction for

specified crimes, ―deportation is an integral part—indeed, sometimes the most important part—

of the penalty that may be imposed on noncitizen defendants who plead guilty to [those] crimes.‖

Padilla, 559 U.S. at 364. By contrast, a federal conviction does not inextricably flow from a

state guilty plea. See Ayala, 601 F.3d at 270 (―In our system of dual sovereigns, state and federal

courts run on separate tracks; thus, a guilty plea in one does not automatically lead to

consequences in the other.‖ (emphasis added)). Both in general and in the specific circumstances

present here, an underlying state conviction is neither necessary nor sufficient to secure a federal

conviction, rather, it is but one ingredient that may be used by the government if it decides to

prosecute the defendant under federal law. In Padilla, however, the defendant‘s guilty plea (i.e.,

conviction) was both necessary and sufficient to impose the consequence of deportation. 7 See

Padilla, 559 U.S. at 373 (noting that defendant‘s offense of conviction ―automatically trigger[ed]

the removal consequence‖); see also 8 U.S.C. § 1227(a)(2)(B) (―Any alien who . . . has been

convicted of a [controlled substance offense] is deportable.‖ (emphasis added)).

        Moreover, a federal conviction is not ―intimately related to the [underlying] criminal

process,‖ id. at 365, that resulted in the state guilty plea, but instead is the ultimate result of an

independent criminal process subject to its own set of constitutional protections. In this regard,

the consequence at issue here stands in particularly stark contrast to the consequence at issue in

Padilla. Removal proceedings are civil rather than criminal, and therefore they do not come

with all of the attendant protections a defendant is afforded in a federal criminal prosecution. In

particular, the Sixth Amendment rights to effective assistance of counsel, trial by jury, and


7
        Conviction of a removable offense triggers administrative removal proceedings under 8 U.S.C. § 1229.
The conviction was sufficient in that it alone was enough to warrant deportation if established by clear and
convincing evidence before an immigration judge.


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compulsory process for obtaining favorable witnesses do not extend to civil removal

proceedings.8 See Prudencio v. Holder, 669 F.3d 472, 490 (4th Cir. 2012). Moreover, the

government must prove its case only by clear and convincing evidence.                          See 8 U.S.C. §

1229a(c)(3). Here, however, Faison and Bonds have already been provided counsel and will be

afforded the right to a jury trial and compulsory process for obtaining witnesses in their favor

should they so choose, and the government must prove its case beyond a reasonable doubt.

        Accordingly, the Court concludes that, even in the wake of Padilla, the possibility of a

future federal conviction (or prosecution) following a state court guilty plea is a collateral

consequence, and therefore it is not within the ―scope of constitutionally ‗reasonable professional

assistance‘ required under Strickland,‖ Padilla, 559 U.S. at 365. The Court does not reach this

conclusion lightly. Indeed, the circumstances present in this case highlight the potentially severe

collateral consequences that may result, at least in part, from a guilty plea. However, the

potential for such consequences, and a multitude of other collateral issues not raised by the

present motion, is an inherent aspect of pleading guilty to serious criminal conduct. And, under

controlling precedent, such collateral consequences are simply too remote and too far removed

from the underlying criminal proceedings to be included within the ambit of the Sixth

Amendment right to effective assistance of counsel.

V. Conclusion

        For the foregoing reasons, an order shall enter DENYING Defendant Faison‘s Motion to

Preclude Admission into Evidence of Defendant‘s Guilty Pleas in State Court. (ECF No. 178.)

Defendant Bonds‘s Motion to Adopt Motion Filed by Co-Defendant (ECF No. 184) will be

GRANTED, but the relief sought therein will be DENIED for the reasons stated above.

8
         The statute governing removal proceedings does provide a constricted version of some of these rights. See
8 U.S.C. § 1229a(b)(4) (providing for ―privilege of being represented, at no expense to the Government, by counsel‖
and right ―to cross-examine witnesses presented by the Government‖).

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DATED this 25th day of September, 2017.

                                               BY THE COURT:

                                                              /s/
                                               James K. Bredar
                                               United States District Judge




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